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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


      IN RE NEW JERSEY TAX              Master Docket No.
      SALES CERTIFICATES                3:12-CV-01893-MAS-TJB
      ANTITRUST LITIGATION



              [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION
             TO AUTHORIZE [CY PRES DISTRIBUTION OF REMAINING
                 SETTLEMENT FUND] [A SECOND DISTRIBUTION
                          OF SETTLEMENT FUND]


         WHEREAS, Plaintiffs Gila Bauer as Trustee for the Gila Bauer Revocable

  Trust, Melissa Jacobs, Frances A. Schmidt and Donald W. Schmidt, and Son, Inc.

  (“Plaintiffs”) entered into settlement agreements with Defendants1;


  1
   The complete list of Defendants is: 1) CCTS Capital, LLC n/k/a Crestar Capital,
  LLC and William S. Green (collectively, Crestar Defendants); 2) American Tax
  Funding, LLC; 3) BBX Capital Corporation f/k/a BankAtlantic Bancorp, Inc.,
  Fidelity Tax, LLC, Heartwood 55, LLC, Michael Deluca, Gary I. Branse, and
  David Jelley; 4) Richard Simon Trustee, Betty Simon Trustee and Joseph Wolfson;
  5) Mooring Tax Asset Group, LLC and Lambros Xethalis; 6) Norman T. Remick;
  7) Michael Mastellone; 8) Pat Caraballese and PAM Investors; 9) Robert U. Del
  Vecchio Sr. and Robert U. Del Vecchio Pension Trust; 10) CCTS, LLC, CCTS
  Tax Liens I, LLC, CCTS Tax Liens II, LLC, DSBD, LLC, Pro Capital LLC, David
  Butler and David M. Farber; 11) Plymouth Park Tax Services, LLC; 12) M.D. Sass
  Investors Services, Inc., M.D. Sass Tax Lien Management, LLC, M.D. Sass
  Municipal Finance Partners – I, L.P., M.D. Sass Municipal Finance Partners – II,
  L.P., Sass Municipal Finance Partners – III, L.P., Sass Municipal Finance Partners
  – IV, L.P., Sass Municipal Finance Partners – V, L.P., Sass Municipal Finance
  Partners – VI, L.P. (collectively, “Sass Entities”), Vinaya K. Jessani and Stephen
  E. Hruby (collectively with the Sass Entities, “Sass Defendants”); 13) Robert E.
  Rothman; 14) Royal Bancshares of Pennsylvania, Inc., Royal Bank America,

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             WHEREAS, the Court preliminarily approved the settlements, certified the

  Settlement Class, appointed Settlement Class Counsel, and directed Settlement

  Class Counsel to issue notice of the proposed settlements to potential Settlement

  Class members;

             WHEREAS, publication and mailing notice were issued;

             WHEREAS, following a fairness hearing, the Court granted final approval

  to the settlements, approved the plan of allocation, and awarded attorneys’ fees and

  expenses;

             WHEREAS, pursuant to the Court’s November 4, 2019 Order, Dkt. No. 522,

  Gilardi & Co, LLC (“Gilardi”), distributed funds as the Court-approved Claims

  Administrator, issuing 287 class payments totaling $6,447,970.52 to known

  claimants;

             WHEREAS, 255 checks totaling $5,974,766.62 have been cashed, one

  check for $29,364.97 has been reissued and two others checks, one for $20,636.61

  and one for $58,101.66, will be reissued and mailed on June 12, 2020, resulting in

  $374,848.30 remaining in the Net Settlement Fund for a [cy pres distribution]

  [second distribution to members of the Settlement Class]; and


  Crusader Servicing Corporation, and Royal Tax Lien Services, LLC; 15) William
  A. Collins; 16) Isadore H. May; 17) Burlington Assembly of God/Fountain of Life
  Center, Mercer S.M.E., Inc., Susan M. Esposito, and David B. Boudwin; 18)
  Richard J. Pisciotta, Jr.; 19) Phoenix Funding, Inc. and Benedict Caiola; and 20)
  Robert W. Stein.
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             WHEREAS, Gilardi has incurred $197,513.20 in fees and expenses

  associated with administering the notice program and the settlements in this case,

  but has agreed with Class Counsel that $177,402.35 is adequate compensation for

  their work in this matter—an amount separate and apart from the $374,848.30

  remaining in the Settlement Fund for distribution to claimants;

             NOW, upon consideration of Plaintiffs’ Motion to Authorize Cy Pres

  Distribution of the Remaining Settlement Fund, or, In the Alternative, for a Second

  Distribution of the Settlement Fund, it is hereby ORDERED:

             1.   The Motion is hereby GRANTED.

             2.   [The remaining $374,848.30 from the Net Settlement Fund shall be

  distributed cy pres to the following four organizations, divided evenly: 1)

  Risklink.org; 2) the New Jersey Citizen Action Fund; 3) the Public Justice

  Foundation; and 4) Legal Services of New Jersey—Campaign for Justice.]

                   [The remaining $374,848.30 from the Net Settlement Fund shall be

  distributed according to the amounts listed in Exhibit 1 to the Third Supplemental

  Declaration of Kenneth Jue on Behalf of Settlement Administrator re: Distribution,

  June 4, 2020.]

             3.   $177,402.35 is authorized to be distributed to Gilardi for their fees and

  expenses associated with administering the notice program and the settlements in

  this case.


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             IT IS SO ORDERED on this       day of                  , 2020.




                                            Hon. Michael A. Shipp, U.S.D.J.




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